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13                              UNITED STATES DISTRICT COURT
14                          CENTRAL DISTRICT OF CALIFORNIA
15   Keo Ratha, Sem Kosal, Sophea Bun, Yem      Case No.: 2:16-CV-04271 JFW (ASX)
     Ban, Nol Nakry, Phan Sophea, and Sok
16   Sang,                                      [Assigned to the Honorable John F.
                                                Walter – Courtroom 7A]
17                     Plaintiffs,
18          vs.                                 PLAINTIFFS’ EVIDENTIARY
                                                OBJECTIONS TO DEFENDANTS’
19   Phatthana Seafood Co., Ltd.; S.S. Frozen   SEPARATE STATEMENT OF
     Food Co., Ltd.; Doe Corporations 1-5;      UNCONTROVERTED FACTS,
20   Rubicon Resources, LLC; and Wales &        SUPPORTING EVIDENCE AND
     Co. Universe Ltd.,                         CONCLUSION OF LAW
21
                      Defendants.               DATE:       December 18, 2017
22                                              TIME:       1:30 p.m.
                                                CRTRM:      7A
23
24                                              Complaint filed:   June 15, 2016
                                                Disc. Cut-Off:     October 31, 2017
25                                              Motion Cut-Off:    November 20, 2017
                                                Trial Date:        January 16, 2018
26
27
28

     PLTFS’ EVID OBJS DEFTS’ SEP STATE
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     PLTFS’ EVID OBJS DEFTS’ SEP STATE
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 1   THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
 2   RECORD:
 3            Plaintiffs hereby submit the following evidentiary objections to the evidence
 4   submitted by Defendants Rubicon Resources and Wales & Co. Universe Ltd. in support
 5   of their Motion for Summary Judgment set for hearing on December 18, 2017 before
 6   this court:
 7
 8       PARA.        ITEM OF EVIDENCE                               OBJECTIONS
             1
          DUF “Wales performs quality control,             1. FRE 701 Improper Opinion
 9         2   sales and marketing primarily for           Testimony as to a Legal Conclusion
10             seafood processing factories. Wales
               itself does not own a seafood               This evidence is objected to on the
11             processing factory and does not             ground that the statements made are a
12             employ production workers or                legal conclusion. Whether Wales
               migrant labor.”                             employs production workers or
13                                                         migrant workers is a legal conclusion
14                    Aramwattananont Decl., ¶ 8           which Mr. Aramwattananont cannot
                                                           make.
15
16                                                         See Hangarter v. Provident Life &
                                                           Accident Ins. Co., 373 F.3d 998, 1016-
17                                                         17 (9th Cir. 2004) (“No witness –
18                                                         expert or non-expert – should opine on
                                                           the ultimate legal conclusion, which is
19                                                         province of the court.”).
20
                                                           2. Sham Declaration. Fed. R. Civ. P.
21                                                         56
22                                                         Yeager v. Bowlin, 693 F.3d 1076 (9th
                                                           Cir. 2012) (Summary judgment
23
                                                           declaration was a sham, and thus
24                                                         district court did not abuse its
                                                           discretion in disregarding it, where
25
                                                           declarant at his prior deposition did not
26                                                         recall answers to multiple questions,
                                                           including questions on topics central to
27
     1
28       Refers to Defendants’ Undisputed Material Facts

         PLTFS’ EVID OBJS DEFTS’ SEP STATE          -1-
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 1   PARA.           ITEM OF EVIDENCE                        OBJECTIONS
                                                his action, even when he was shown
 2                                              exhibits in attempt to refresh his
 3                                              recollection, but declaration contained
                                                comprehensive details about the action
 4                                              without any credible explanation as to
 5                                              how declarant's recollection had been
                                                refreshed).
 6
 7                                              This evidence is further objected to on
                                                the ground that the declaration is a
 8                                              sham declaration in that the statements
 9                                              in the declaration are in direct
                                                contradiction to earlier deposition
10                                              testimony.
11
                                                The declaration conflicts with his prior
12                                              testimony. For example:
13
                                                When he was asked at his deposition if
14                                              Wales owned factories that produced
15                                              product, Aramwattananont replied
                                                “Yes” stating that there were “[t]wo
16                                              company, three factories.”
17                                              When he was asked what the names
                                                were of the companies, he replied,
18
                                                “Number one, Andaman Seafood.” He
19                                              stated that Andaman Seafood has “two
                                                factories.” He testified that the other
20
                                                company is “Sea Wealth Frozen Food”
21                                              which also has one factory.
22
                                                Q. Did Wales own factories that
23                                              produced product?
                                                A. Yes.
24
                                                Q. How many?
25                                              A. Two company, three factories.
                                                Q. What are the two company names?
26
                                                A. Number one, Andaman Seafood.
27                                              Q. Andaman?
                                                A. But the Andaman Seafood have
28
                                                the branch also in the south.
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -2-
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 1   PARA.           ITEM OF EVIDENCE                       OBJECTIONS
                                                Q. So it has two factories?
 2                                              A. For one company.
 3                                              Q. What is the other company name?
                                                A. Sea Wealth Frozen Food.
 4                                              Q. Sea Wealth Frozen Food. Okay. Sea
 5                                              Wealth Frozen Food has one factory?
                                                A. Yes.
 6                                              Wales 30(b)(6) Dep. 58:3-19.
 7
                                                "The general rule in the Ninth Circuit
 8                                              is that a party cannot create an issue of
 9                                              fact by an affidavit contradicting his
                                                prior deposition testimony." Kennedy
10                                              v. Allied Mut. Ins. Co., 952 F.2d 262,
11                                              266 (9th Cir. 1991). This is because "if
                                                a party who has been examined at
12                                              length on deposition could raise an
13                                              issue of fact simply by submitting an
                                                affidavit contradicting his own prior
14                                              testimony, this would greatly diminish
15                                              the utility of summary judgment as a
                                                procedure for screening out sham
16                                              issues of fact." Id. at 266 (quoting
17                                              Foster v. Arcata Assocs., Inc., 772
                                                F.2d 1453, 1462 (9th Cir.1985)).
18
19                                              The sham affidavit rule arises when the
                                                declarant's declaration contradicts
20
                                                earlier deposition testimony. Nelson v.
21                                              City of Davis, 571 F.3d 924, 927 (9th
                                                Cir. 2009); see Kennedy v. Allied Mut.
22
                                                Ins. Co., 952 F.2d 262, 266-67 (9th
23                                              Cir. 1991) (holding a court may
                                                discount a "sham" declaration that
24
                                                "flatly contradicts" prior deposition
25                                              testimony, and has been provided for
                                                the sole purpose of creating a genuine
26
                                                issue of material fact.) The underlying
27                                              rationale of the sham affidavit rule is
                                                that a party may not "manufacture a
28
                                                bogus dispute with himself to defeat
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -3-
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 1   PARA.           ITEM OF EVIDENCE                     OBJECTIONS
                                                summary judgment." Davis, 571 F.3d
 2                                              at 928.
 3
 4
     PARA.       ITEM OF EVIDENCE                           OBJECTIONS
 5
       8   “Rubicon never acted as             1. Sham Declaration. Fed. R. Civ. P.
 6         Phatthana's agent (in the U.S. or   56;
           elsewhere) for any purpose          Yeager v. Bowlin, 693 F.3d 1076 (9th
 7
           (including purchasing, selling,     Cir. 2012) (Summary judgment
 8         distributing, or marketing          declaration was a sham, and thus
           Phatthana products).”               district court did not abuse its discretion
 9
           Wynn Decl., ¶ 4                     in disregarding it, where declarant at his
10                                             prior deposition did not recall answers
                                               to multiple questions, including
11
                                               questions on topics central to his action,
12                                             even when he was shown exhibits in
                                               attempt to refresh his recollection, but
13
                                               declaration contained comprehensive
14                                             details about the action without any
                                               credible explanation as to how
15
                                               declarant's recollection had been
16                                             refreshed).
17
                                               This evidence is objected to on the
18                                             ground that the declaration is a sham
19                                             declaration in that the statement in the
                                               declaration in paragraph 4 is
20                                             contradicted by Brian Wynn’s own
21                                             deposition testimony and Rubicon
                                               30(b)(6) deposition testimony.
22
23                                             "The general rule in the Ninth Circuit is
                                               that a party cannot create an issue of
24                                             fact by an affidavit contradicting his
25                                             prior deposition testimony." Kennedy v.
                                               Allied Mut. Ins. Co., 952 F.2d 262, 266
26                                             (9th Cir. 1991). This is because "if a
27                                             party who has been examined at length
                                               on deposition could raise an issue of
28                                             fact simply by submitting an affidavit
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -4-
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 1   PARA.          ITEM OF EVIDENCE                        OBJECTIONS
                                               contradicting his own prior testimony,
 2                                             this would greatly diminish the utility
 3                                             of summary judgment as a procedure
                                               for screening out sham issues of fact."
 4                                             Id. at 266 (quoting Foster v. Arcata
 5                                             Assocs., Inc., 772 F.2d 1453, 1462 (9th
                                               Cir.1985)).
 6
 7                                             The sham affidavit rule arises when the
                                               declarant's declaration contradicts
 8                                             earlier deposition testimony. Nelson v.
 9                                             City of Davis, 571 F.3d 924, 927 (9th
                                               Cir. 2009); see Kennedy v. Allied Mut.
10                                             Ins. Co., 952 F.2d 262, 266-67 (9th Cir.
11                                             1991) (holding a court may discount a
                                               "sham" declaration that "flatly
12                                             contradicts" prior deposition testimony,
13                                             and has been provided for the sole
                                               purpose of creating a genuine issue of
14                                             material fact.) The underlying rationale
15                                             of the sham affidavit rule is that a party
                                               may not "manufacture a bogus dispute
16                                             with himself to defeat summary
17                                             judgment." Davis, 571 F.3d at 928.
18
                                               Mr. Wynn’s declaration conflicts with
19                                             prior deposition testimony. For
                                               example:
20
21                                             Q. If you were already selling -- PTN
                                               was already selling in the United States,
22
                                               why was Rubicon Resources needed?
23                                             A. Because we want to sell our product
                                               to supermarkets and to provide other
24
                                               services.
25                                             Q. Was PTN Group selling to any
                                               supermarkets prior to Rubicon being
26
                                               established?
27                                             A. We did not sell directly to
                                               supermarkets but through importers.
28
                                               Q. Okay. Did you sell to importers that
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -5-
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 1   PARA.          ITEM OF EVIDENCE                        OBJECTIONS
                                               you didn't own, and so Rubicon was
 2                                             established so that you were going
 3                                             through a company that you owned?
                                               A. Partially.
 4                                             Q. When you say "partially," what does
 5                                             that mean?
                                               A. Meaning that we also sell to
 6                                             importers, although we establish
 7                                             Rubicon Company.
                                               Q. So Rubicon was established just to
 8                                             help you sell more in the United States?
 9                                             A. Yes.
                                               Phatthana 30(b)(6) Dep. 26:13-27:14.
10
11                                             Q. Have you seen the document before?
                                               A. Yes, I did.
12                                             Q. There is an e-mail at the bottom of
13                                             the page which is from you, addressed
                                               to Brian Wynn. Did you write that?
14                                             A. Yes.
15                                             Q. Did you write it in English, or did
                                               you use some translation service to
16                                             write it?
17                                             A. Someone help me to write it.
                                               Q. Who helped you?
18
                                               A. I cannot remember.
19                                             Q. There's an indication here to Mr.
                                               Wynn, who is at Rubicon Resources,
20
                                               correct?
21                                             A. Yes.
                                               Q. There's an indication that you're
22
                                               trying to apply for a green ticket for the
23                                             Songkhla factory. Is that -- that's what
                                               we talked about yesterday, correct?
24
                                               A. Yes.
25                                             Q. What did you need Rubicon
                                               Resources to help do?
26
                                               A. As I mentioned yesterday, we need
27                                             to ship the product, at least five
                                               shipments, for inspection by FDA in
28
                                               order to see that there's no error in
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -6-
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 1   PARA.          ITEM OF EVIDENCE                       OBJECTIONS
                                               requirement regarding food safety, and
 2                                             then we could later apply for green
 3                                             ticket.
                                               Q. And was Rubicon Resources able to
 4                                             help you do that?
 5                                             A. Yes, they can send to FDA for
                                               random inspection.
 6                                             Q. Was it common to ask Rubicon
 7                                             Resources to help you facilitate things
                                               with the United States?
 8                                             A. Yes.
 9                                             Phatthana 30(b)(6) Dep. 280:5-281:20.
10                                             A. …The Thai shrimp industry, we
11                                             have a lot of the product. But to do the
                                               production and ship to the customer, the
12                                             big customer, like Walmart, okay, or
13                                             Kroger, it need to have a big quantity
                                               enough to ship at the time that they
14                                             want the product. Only my group is not
15                                             enough. Okay? So we need another
                                               group.
16                                             Q. So you needed a group within the
17                                             company who was actually processing
                                               the product in order to get it to America
18
                                               in hopefully the volume, the big volume
19                                             that Rubicon Resources was going to be
                                               helping you sell?
20
                                               A. (Moving head up and down.)
21                                             Q. Yes?
                                               A. Yes.
22
                                                      MS. KROEGER: Okay. All right.
23                                                    We can take a break.
                                                      THE VIDEOGRAPHER: It is
24
                                                      9:53, and we are off the record.
25                                                    This is video 1.
                                               ***
26
                                               (Recess from 9:53 a.m. to 10:05 a.m.)
27                                             ***
                                                      THE VIDEOGRAPHER: It is
28
                                                      10:05. This is the continuation of
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -7-
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 1   PARA.          ITEM OF EVIDENCE                          OBJECTIONS
                                                       media 1. We are back on the
 2                                                     record.
 3                                              BY MS. KROEGER:
                                                Q. After the Rubicon Resources
 4                                              company was formed, did Rubicon
 5                                              Resources help market the Thai product
                                                in the United States?
 6                                              A. Yes.
 7                                              Q. Was the thought when the company
                                                was formed that the product that would
 8                                              be marketed and sold in the United
 9                                              States would come from the factories
                                                owned by Mr. Paibool? Was that the
10                                              purpose of bringing him and his
11                                              companies into the -- into the mix of
                                                ownership?
12                                              A. Not only for him. For all the -- all
13                                              the part -- all the shareholder group.
                                                Q. The other shareholder group? Okay.
14                                              A. Yes. For all.
15                                              Q. Was there any product that was to be
                                                sold to the United States through the
16                                              Rubicon Group other than the -- Mr.
17                                              Paibool's group and the Thai Fish Cold
                                                Storage Group? Just those -- just those
18
                                                two factories?
19                                              MR. KREINDLER: And Wales.
                                                THE WITNESS: And my group.
20
                                                Wales 30(b)(6) 55:12-57:22.
21
                                                Q. What was Rubicon's role in the sale
22
                                                of shrimp?
23                                              A. Wow. Generally speaking, we were
                                                to – we were the market engagement,
24
                                                access to the market. So we would
25                                              engage the customer and try to solve for
                                                their unique needs.
26
                                                Q. How did you get customers?
27                                                     MR. KREINDLER: Objection,
                                                       vague.
28
                                                THE WITNESS: So many ways.
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -8-
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 1   PARA.          ITEM OF EVIDENCE                         OBJECTIONS
                                                BY MS. FRYSZMAN:
 2                                              Q. Did you do marketing?
 3                                              A. Yes.
                                                Q. What sort of marketing did you do?
 4                                              A. We've done advertisements in
 5                                              seafood magazines. We've done -- that's
                                                probably -- maybe -- we have a website.
 6                                              Most of our bus- -- our customers are --
 7                                              most of our business is private label, so
                                                we run a lot of programs for customers
 8                                              that are unique and specific to them.
 9                                              Rubicon 30(b)(6) Dep. 25:5-23
                                                (Rubicon described itself as “the market
10                                              engagement, access to the market.”).
11
                                                Q. Okay. So where are they in the U.S.?
12                                              A. They are all over the country. Third-
13                                              party warehouses all over the country.
                                                Q. And what's a third-party warehouse?
14                                              A. It's something not captive.
15                                              Q. You have -- is it like a storage
                                                facility?
16                                              A. Yes. It would be a cold storage
17                                              facility.
                                                Q. Okay. And where -- are there --
18
                                                where were there and are there cold
19                                              storage facilities that serve as inventory
                                                storage places for Rubicon Resources,
20
                                                LLC?
21                                              A. Chicago, Los Angeles, New Jersey,
                                                other places. Major cities.
22
                                                Q. Okay. In New Jersey, where in New
23                                              Jersey?
                                                A. I don't know the specific location.
24
                                                Q. Okay. It would be a port?
25                                              A. Not necessarily.
                                                Q. Okay. So just going for the United
26
                                                States inventory, so if a company wants
27                                              shrimp, who do they contact to get their
                                                shrimp, who at Rubicon Resources?
28
                                                Once it's in the United States. What
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -9-
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 1   PARA.          ITEM OF EVIDENCE                        OBJECTIONS
                                                position?
 2                                              A. I mean, are you buying it, or are you
 3                                              distributing it?
                                                Q. Let's go with buying it.
 4                                              A. They would contact the
 5                                              representative merchant at Rubicon.
                                                Q. Okay. And where -- how many
 6                                              representative merchants are there at
 7                                              Rubicon?
                                                A. Today?
 8                                              Q. Yes.
 9                                              A. Approximately eight.
                                                Wynn Dep. 112:1-113:7.
10
11                                              Q. Okay. So for purchasing, they would
                                                go to somebody in the merchandising
12                                              department; correct?
13                                              A. Correct.
                                                Q. And the same was true 2010 through
14                                              2012; correct?
15                                              A. Yes.
                                                Q. Okay. And they would say what?
16                                              A. I want to buy some shrimp.
17                                              Q. And what would the merchandiser
                                                do?
18
                                                A. I want to sell some shrimp.
19                                              Wynn Dep. 115:17-116:1.
20
                                                A. I'm not saying there's any
21                                              weaknesses, but the merchandiser deals
                                                with the buyers of the customers.
22
                                                Q. Okay.
23                                              A. That's what they engage on. They
                                                negotiate price and quantity --
24
                                                Q. Okay. And then --
25                                              A. -- specifications.
                                                Q. -- who handles delivery?
26
                                                A. The replenishment department.
27                                              Wynn Dep. 116:13-22.
28
                                                Q. Okay. So the replenishment
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -10-
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 1   PARA.          ITEM OF EVIDENCE                          OBJECTIONS
                                                department has an order.
 2                                                      I want one container. What does
 3                                              the replenishment department do as it
                                                relates to these warehouses in the U.S.?
 4                                                      We're going to work backwards
 5                                              to Thailand just so –
                                                A. They would -- they'd be responsible
 6                                              for making sure the inventory matches
 7                                              the demands of the customer.
                                                Q. Okay. So in this case, how do they
 8                                              determine? Do they check with Chicago
 9                                              and Los Angeles and New Jersey, or do
                                                they check the closest one to where the
10                                              customer wants it?
11                                                      What do they do?
                                                A. Different customers have different
12                                              requirements for delivery. We also use
13                                              different methods of inventorying.
                                                FIFO is an example.
14                                              Q. And what's that?
15                                              A. First in/first out.
                                                Q. Okay. You didn't use LIFO?
16                                              A. We could have.
17                                              Q. And why didn't you?
                                                A. It's a function of how you interpret
18
                                                your inventory. There's different factors
19                                              to that, you know, banking
                                                requirements, banking covenants, things
20
                                                like that.
21                                              Q. Okay. Let's just go back to the
                                                ordering itself.
22
                                                        So a customer, Kroger would --
23                                              Kroger, that was one of the ones you
                                                mentioned?
24
                                                A. Yes.
25                                              Q. Okay. Kroger wants in Los Angeles
                                                a container of shrimp.
26
                                                        What does the replenishment
27                                              department do?
                                                A. They arrange for its safe delivery.
28
                                                Q. Where do they get it from, is my
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -11-
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 1   PARA.          ITEM OF EVIDENCE                        OBJECTIONS
                                                question?
 2                                              A. From inventory.
 3                                              Q. In Los Angeles?
                                                A. If that's where the most effective
 4                                              inventory is.
 5                                              Q. Oh, so it might be -- Los Angeles
                                                doesn't have enough, then it might be
 6                                              Chicago?
 7                                              A. It could be.
                                                Q. Or New Jersey?
 8                                              A. Could be.
 9                                              Q. Okay. So Kroger says to the -- where
                                                is the replenishment department
10                                              physically located?
11                                              A. Culver City.
                                                Q. Okay. So Kroger in Los Angeles
12                                              calls the replenishment department in
13                                              Culver City or emails or some way
                                                contacts and says, we want a container.
14                                                      Is there certain types of shrimp?
15                                              A. Yes.
                                                Q. Okay. What are the different types?
16                                              A. There are different species in
17                                              different product forms.
                                                Q. Anything else?
18
                                                A. There's different sizes and shapes
19                                              and different specifications.
                                                Wynn Dep. 118:4-120:13.
20
21                                              Q. Okay. So back to ordering the
                                                container.
22
                                                       So the replenishment department
23                                              checks and sees whether they can
                                                provide the container of a particular
24
                                                species, size, shape of shrimp that has
25                                              been ordered by Krogers or Wal-Mart
                                                or Trader Joe's, whoever; correct?
26
                                                A. Loosely, yes.
27                                              Q. Okay. Where -- what would make it
                                                tighter?
28
                                                A. They're responsible for maintaining
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -12-
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 1   PARA.          ITEM OF EVIDENCE                         OBJECTIONS
                                                inventory levels is a more accurate way
 2                                              to say what they do.
 3                                              Q. Okay. But then once the
                                                merchandising person has a sale, then
 4                                              it's turned over to replenishment to find
 5                                              where those products are; correct?
                                                A. No. The replenishment department's
 6                                              there to maintain inventory levels.
 7                                              Q. Okay. But who finds in the inventory
                                                where what is ordered is needed?
 8                                              Merchandising or replenishment?
 9                                              A. Who finds in the inventory?
                                                Q. Right.
10                                              A. The replenishment department picks
11                                              the inventory.
                                                Q. And what does it mean, to pick the
12                                              inventory?
13                                              A. Schedules delivery, organizes the
                                                orders as the customer needs them.
14                                              Q. Okay. And they determine which
15                                              warehouse has the product that is being
                                                sought?
16                                              A. Yes.
17                                              Q. Okay. Is it -- have we covered how
                                                something is ordered and how it gets to
18
                                                the company? Is there any other steps
19                                              that I'm missing?
                                                A. Probably.
20
                                                Q. Okay. Do you -- can you think of
21                                              any that --
                                                A. No.
22
                                                Q. -- I'm missing?
23                                              A. No.
                                                Q. Okay. Now, is it done any different
24
                                                for people who want to distribute
25                                              shrimp?
                                                A. I don't understand.
26
                                                Q. We looked at the purchaser. You
27                                              said there were two types. There was a
                                                purchaser, and there was a distributor.
28
                                                Correct?
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -13-
 Case 2:16-cv-04271-JFW-AS Document 163 Filed 11/27/17 Page 16 of 29 Page ID #:6429



 1   PARA.          ITEM OF EVIDENCE                         OBJECTIONS
                                                2 A. I'm unclear.
 2                                              3 Q. Okay. When I asked you earlier
 3                                              how do you get the shrimp from the
                                                warehouse, you said it depends on
 4                                              whether you're a purchaser or – there
 5                                              are two types, essentially, and you said
                                                a purchaser and a distributor.
 6                                                     Is there -- are there two types?
 7                                              A. Yes.
                                                Q. And what are the two types?
 8                                              A. I'm referring to the buying and the
 9                                              selling and distri- -- and -- A, and, B,
                                                the distribution of the product.
10                                              Q. Okay. What does it mean to
11                                              distribute the product?
                                                A. To make sure that it ships from the
12                                              country of origin on time, to import it
13                                              successfully, to warehouse it, and then
                                                to coordinate the delivery to the
14                                              customer.
15                                              Q. So that's also part of purchasing,
                                                then; correct? I mean, it's not -- is there
16                                              something separate?
17                                              A. That's the replenish- -- that's
                                                primarily the replenishment
18
                                                functionality.
19                                              Q. For the warehouses?
                                                A. No. We don't manage the ware- --
20
                                                we don't -- they're third-party
21                                              warehouses. We don't manage their
                                                business. We manage product to and
22
                                                from.
23                                              Q. I asked it improperly. Their job is to
                                                make sure it gets to the warehouse as
24
                                                inventory?
25                                              A. Yes.
                                                Q. To be either purchased by someone
26
                                                or distributed?
27                                              A. Correct.
                                                Wynn Dep. 123:5-126:11.
28

     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -14-
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 1   PARA.          ITEM OF EVIDENCE                         OBJECTIONS
                                                A. We'd have maybe a meeting, a
 2                                              business meeting, talk about the market
 3                                              conditions and, you know, what we
                                                forecast for the future of the market
 4                                              conditions. We'd look at the laboratory,
 5                                              maybe.
                                                Q. And why would you look at the
 6                                              laboratory?
 7                                              A. To demonstrate to the customer that
                                                we had a rigorous QA laboratory
 8                                              process in the production of the
 9                                              product.
                                                Q. Okay. Anything else you recall you
10                                              looked at during the course of these
11                                              tours?
                                                A. The only thing I could think of is
12                                              new product, like maybe new product
13                                              innovation.
                                                Q. You might ask if they're doing
14                                              anything differently or have a new type
15                                              of product?
                                                A. Yeah. Anything new. Can we do
16                                              something different?
17                                              Q. So what would be -- what would you
                                                do differently with fish?
18
                                                A. Process it in a different way.
19                                              Q. Shrimp, the same thing?
                                                A. Yes.
20
                                                Wynn Dep. 135:22-136:17.
21
                                                Q. …If you are sending it in
22
                                                anticipation of the customer's purchase
23                                              order to Rubicon from the customer, is
                                                it still designated to that customer?
24
                                                A. It's designated to a warehouse, a
25                                              location or destination as I said. It's
                                                purchased at a destination. So we --
26
                                                when we purchase the product or issue
27                                              our purchase order, it prescribes the
                                                destination.
28
                                                Q. Okay. And how do you determine
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -15-
 Case 2:16-cv-04271-JFW-AS Document 163 Filed 11/27/17 Page 18 of 29 Page ID #:6431



 1   PARA.          ITEM OF EVIDENCE                         OBJECTIONS
                                                the destination?
 2                                              A. Proximity to the customer's
 3                                              distribution.
                                                Q. And I assume for somebody like
 4                                              Walmart, that's lots of points?
 5                                              A. It is.
                                                Q. Kroger same?
 6                                              A. Less points, but several.
 7                                              Q. Trader Joe's?
                                                A. Same.
 8                                              Q. Sysco?
 9                                              A. Similar.
                                                Q. And what was the other one?
10                                              Kroger. So Kroger, Walmart, Trader
11                                              Joe's -- Sam's Club. That's the other
                                                one.
12                                              A. Yeah, they have multiple distribution
13                                              points, distribution centers.
                                                Q. Okay. And then it would go to a
14                                              warehouse awaiting what?
15                                              A. Awaiting its turn in line to ship out
                                                to the customer.
16                                              Q. Okay. So if it's been ordered, we
17                                              want X amount of shrimp, put on the
                                                boat, taken to a warehouse, purchase
18
                                                order comes in while it's en route.
19                                              When it gets there, you just await the
                                                pur- -- the customer, saying we want a
20
                                                container of shrimp in San Bernardino.
21                                              Something like that?
                                                A. Something like that.
22
                                                Q. And is there anything about what
23                                              said incorrect?
                                                A. It's not perfectly accurate.
24
                                                Q. Okay. Where am I inaccurate?
25                                              A. The customers rely on us to maintain
                                                inventory for them, and that inven- --
26
                                                that demand has seasonality to it. So
27                                              they -- and they were -- like I said
                                                earlier, they run on a shorter ordering
28
                                                system. So we maintain an inventory of
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -16-
 Case 2:16-cv-04271-JFW-AS Document 163 Filed 11/27/17 Page 19 of 29 Page ID #:6432



 1   PARA.          ITEM OF EVIDENCE                       OBJECTIONS
                                                about 90 days to satisfy their ongoing
 2                                              demand.
 3                                              Q. Who is the "their"?
                                                A. The customers' ongoing demand.
 4                                              Wynn Dep. 146:4-148:1.
 5
                                                A. Sorry. The customers order from
 6                                              Rubicon, and we --
 7                                              Q. Okay.
                                                A. -- maintain an inventory to fill those
 8                                              orders.
 9                                              Wynn Dep. 148:20-24.
10                                              A. It's just a fluid situation. A lot goes
11                                              into inventory levels; run rates,
                                                promotions, foot traffic, a lot of stuff
12                                              like that.
13                                              Q. It's what you anticipate you will
                                                need?
14                                              A. Yes.
15                                              Q. Okay. And you -- so you ship based
                                                upon what you anticipate you will need,
16                                              based on your analysis of the historical
17                                              rates plus potential things that might
                                                take place in the future?
18
                                                A. Yes.
19                                              Q. And then it goes to the warehouses?
                                                A. Yes.
20
                                                Wynn Dep. 153:23-154:9.
21
                                                A. There's the importation process.
22
                                                Q. What's that?
23                                              A. Homeland Security, customs, FDA.
                                                Q. But they're not a delivery
24
                                                mechanism. I'm talking about
25                                              something that gets you from point A to
                                                point B. They could be an interference,
26
                                                but they're not likely to be a delivery
27                                              mechanism, are they?
                                                A. But they're a prerequisite.
28
                                                       MR. KREINDLER: When you
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -17-
 Case 2:16-cv-04271-JFW-AS Document 163 Filed 11/27/17 Page 20 of 29 Page ID #:6433



 1   PARA.          ITEM OF EVIDENCE                         OBJECTIONS
                                                say "delivery," are you talking about the
 2                                              physical movement of --
 3                                                     MR. STORMER: Yeah.
                                                       MR. KREINDLER: -- the
 4                                              product to the United States?
 5                                              MR. STORMER: Yeah.
                                                THE WITNESS: Physically, no, they
 6                                              wouldn't be involved.
 7                                              BY MR. STORMER:
                                                Q. Okay. You just have to plan for
 8                                              issues that might develop with
 9                                              Homeland Security?
                                                A. There could be a sampling, which
10                                              would be a physical delay. There could
11                                              be detention of a container, which
                                                would be a physical delay. There would
12                                              be things along the import chain that
13                                              could stop the cargo.
                                                Q. Okay. What are the types of things
14                                              that could stop the cargo?
15                                              A. Random inspection, intentional
                                                inspection.
16                                              Q. How does that stop?
17                                              A. Bad paperwork. The FDA would
                                                stop the cargo.
18
                                                Q. Okay. If they're doing a random
19                                              inspection, don't they just randomly
                                                inspect and let you go on if you pass?
20
                                                A. Not always, no.
21                                              Q. What do they do?
                                                A. It depends on what they're inspecting
22
                                                for.
23                                              Q. What are the types of things they
                                                inspect for?
24
                                                A. Wholesomeness.
25                                              Q. Wholesomeness?
                                                A. Yep.
26
                                                Q. What's wholesomeness?
27                                              A. Whether you can eat it.
                                                Q. Oh, okay.
28
                                                A. Banned ingredients, antibiotics,
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -18-
 Case 2:16-cv-04271-JFW-AS Document 163 Filed 11/27/17 Page 21 of 29 Page ID #:6434



 1   PARA.          ITEM OF EVIDENCE                          OBJECTIONS
                                                hormones, chemicals. General quality
 2                                              organ elliptical qual- -- general organ
 3                                              elliptical quality.
                                                Q. Organ elliptical --
 4                                              A. So it's -- is it what we said it was.
 5                                              Q. Oh, okay.
                                                A. And so those things are -- all matter
 6                                              in terms of the distribution.
 7                                              Q. Okay. And those are things you have
                                                to plan for in your inventory process?
 8                                              A. Definitely.
 9                                              Q. Okay. Something might take longer,
                                                so you have to assure you have
10                                              sufficient inventory to --
11                                              A. Yes.
                                                Q. -- cover for it?
12                                              A. Yes.
13                                              Wynn Dep. 160:8-162:18.
14                                              Q. And what is this document?
15                                              22 A. It's an email from me to the head
                                                of marketing for the PTN Group.
16                                              Q. And that's Kim Kim?
17                                              A. It is.
                                                Q. And down, it has "Dear Khun Kim,"
18
                                                K-H-U-N. Is that a different person or -
19                                              -
                                                A. Kuhn is Mr., Mrs.
20
                                                Q. Oh. In Thai?
21                                              A. Yes.
                                                Q. Okay. You say:
22
                                                        "I am confident that we have
23                                              successfully taken off" --
                                                        "Regarding the PTN labor matter,
24
                                                I am confident that we have
25                                              successfully taken it off of the urgent
                                                radar with our major customers."
26
                                                Do you see that?
27                                              A. Yes.
                                                Q. What did you mean by that?
28
                                                A. That after they've thoroughly
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -19-
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 1   PARA.          ITEM OF EVIDENCE                         OBJECTIONS
                                                reviewed the issue that was brought up
 2                                              in the press, they believe it was no
 3                                              longer an issue and were comfortable
                                                doing business with us.
 4                                              Q. And what were the major customers
 5                                              who had placed Rubicon on the urgent
                                                radar?
 6                                              A. Primarily Walmart and Sam's.
 7                                              Wynn Dep. 218:21-219:22.
 8                                              Q. What did you mean by Rubicon
 9                                              being truly vertically integrated?
                                                A. It's verifiable that they owned part of
10                                              the business.
11                                              Q. Who's "they"?
                                                A. The PTN Group and the AMS
12                                              Group.
13                                              Q. Owned part of what business?
                                                A. Rubicon.
14                                              Wynn Dep. 221:13-20.
15
                                                BY MR. STORMER:
16                                              Q. Now, it says:
17                                                     "Brian,.
                                                       "Again this is where creative at
18
                                                your direction should draft a Rubicon
19                                              position."
                                                       What was creative?
20
                                                A. The creative department.
21                                              Q. Okay. So they would draft a position
                                                on behalf of Rubicon?
22
                                                A. If we made one, they would.
23                                              Q. And was that part of their job, to be
                                                creative?
24
                                                A. Well, creative -- they produce
25                                              artwork and graphics and decks and
                                                things like that. That's also where our
26
                                                copywriter resided. So if we wrote
27                                              something, then it would go through the
                                                copywriter.
28
                                                Q. Okay. And then it says:
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -20-
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 1   PARA.          ITEM OF EVIDENCE                          OBJECTIONS
                                                       "We need to be spot on as it
 2                                              relates to what PTN has and will do in
 3                                              this matter."
                                                       Do you see that?
 4                                              A. Yes.
 5                                              Q. And had you decided what it was
                                                that PTN had and would do?
 6                                              A. We decided to message to our
 7                                              customers directly and not to the trade.
                                                So this discussion with me is about
 8                                              discussing it to the trade, not to the
 9                                              customers individually.
                                                Q. Well, then I'm confused because the
10                                              second sentence says:
11                                                     "We need to also be prepared to
                                                respond to our customers."
12                                              A. Where is your confusion?
13                                              Q. Probably based early in life. But in
                                                this case, it seems to be saying here that
14                                              in addition to having creative draft a
15                                              Rubicon position, you would also
                                                respond to the customers?
16                                              A. This is Mr. Matta putting his point of
17                                              view across as to how we should
                                                proceed.
18
                                                Q. Did you not agree with Mr. Matta?
19                                              A. We ended up messaging just to the
                                                customers.
20
                                                Q. And was there a discussion about
21                                              that?
                                                A. I'm not sure if -- I'm not sure if we
22
                                                had a discussion including Jesse or not.
23                                              Q. Who's the "we"?
                                                A. The company.
24
                                                Q. Okay. And who would that be?
25                                              A. It would be me and Gregg and
                                                perhaps Jesse, maybe Justin Kirby. I
26
                                                probably made the decision to message
27                                              just to the customers based on the facts
                                                of the matter.
28
                                                Wynn Dep. 285:9-287:12.
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -21-
 Case 2:16-cv-04271-JFW-AS Document 163 Filed 11/27/17 Page 24 of 29 Page ID #:6437



 1   PARA.          ITEM OF EVIDENCE                           OBJECTIONS
 2                                                 Q. Okay. So did you help PTN
 3                                                 Songkhla get the green ticket?
                                                   A. I don't know if we did or we didn't,
 4                                                 but it looks like we agreed to start.
 5                                                 Q. And was that for only products that
                                                   came through Rubicon?
 6                                                 A. Their status as a -- their relationship
 7                                                 with FDA involves the importer, but it
                                                   could apply to other importers as well.
 8                                                 Wynn Dep. 257:23-258:6 (Rubicon
 9                                                 worked to get green tickets for the PTN,
                                                   and to ensure products from its factories
10                                                 had green tickets and were taken off
11                                                 auto-detention by the FDA).
12                                                 2. FRE 701 Improper Opinion
13                                                 Testimony as to a Legal Conclusion
                                                   The evidence is further objected to as it
14                                                 draws a legal conclusion.
15
                                                   Whether Rubicon ever acted as
16
                                                   Phatthana's agent is a legal conclusion,
17                                                 in the Court’s purview only. See
                                                   Hangarter v. Provident Life & Accident
18
                                                   Ins. Co., 373 F.3d 998, 1016-17 (9th
19                                                 Cir. 2004) (“No witness – expert or
                                                   non-expert – should opine on the
20
                                                   ultimate legal conclusion, which is
21                                                 province of the court.”).
        9      Rubicon did not direct or           1. FRE 701 Improper Opinion
22
               participate in Phatthana’s labor    Testimony as to a Legal Conclusion
23             recruitment, employment practices,
               or work conditions at Phatthana’s Mr. Wynn is offering an opinion on
24
               Songkhla factory.                  whether Rubicon directed or
25                                                participated in Phatthana’s labor
26             Q. Did you ever hear that the      recruitment, employment practices, or
               workers were charged recruitment work conditions at Phatthana’s
27             fees in order to obtain their      Songkhla factory. Whether or not
28             employment?                        Rubicon’s conduct rose to the level of
               A. No.                             directing or participating is a legal
     PLTFS’ EVID OBJS DEFTS’ SEP STATE     -22-
 Case 2:16-cv-04271-JFW-AS Document 163 Filed 11/27/17 Page 25 of 29 Page ID #:6438



 1   PARA.           ITEM OF EVIDENCE                             OBJECTIONS
               Q. Did you ever hear that the          conclusion for the Court. See
 2             workers were charged deductions        Hangarter v. Provident Life & Accident
 3             to repay those fees?                   Ins. Co., 373 F.3d 998, 1016-17 (9th
               A. We weren't involved in the          Cir. 2004) (“No witness – expert or
 4             recruitment of employees in            non-expert – should opine on the
 5             Thailand.                              ultimate legal conclusion, which is
               Q. Did you ever hear that the          province of the court.”).
 6             workers were charged for needles
 7             that they used to do their jobs?
               A. No.
 8             Q. Or for any other equipment?
 9             A. No.
               Q. You didn't hear?
10             A. We weren't involved.
11
               Exh. 8, Rubicon 30(b)(6)
12             9/12/2017 Depo., pp. 65:12-66:1,
13             86:16-21.
        13     “Wales never acted as Phatthana's      1. Sham Declaration. Fed. R. Civ. P.
14
               agent (in the U.S. or elsewhere) for   56
15             any purpose (including purchasing,     Yeager v. Bowlin, 693 F.3d 1076 (9th
               selling, distributing, or marketing    Cir. 2012) (Summary judgment
16
               Phatthana products).”                  declaration was a sham, and thus
17                    Aramwattananont Decl., ¶13      district court did not abuse its discretion
                                                      in disregarding it, where declarant at his
18
                                                      prior deposition did not recall answers
19                                                    to multiple questions, including
                                                      questions on topics central to his action,
20
                                                      even when he was shown exhibits in
21                                                    attempt to refresh his recollection, but
                                                      declaration contained comprehensive
22
                                                      details about the action without any
23                                                    credible explanation as to how
                                                      declarant's recollection had been
24
                                                      refreshed).
25
26                                                    This evidence is objected to on the
                                                      ground that the declaration is a sham
27                                                    declaration in that the statement in the
28                                                    declaration in paragraph13 is
                                                      contradicted by deposition testimony.
     PLTFS’ EVID OBJS DEFTS’ SEP STATE      -23-
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 1   PARA.          ITEM OF EVIDENCE                        OBJECTIONS
 2                                              "The general rule in the Ninth Circuit is
 3                                              that a party cannot create an issue of
                                                fact by an affidavit contradicting his
 4                                              prior deposition testimony." Kennedy v.
 5                                              Allied Mut. Ins. Co., 952 F.2d 262, 266
                                                (9th Cir. 1991). This is because "if a
 6                                              party who has been examined at length
 7                                              on deposition could raise an issue of
                                                fact simply by submitting an affidavit
 8                                              contradicting his own prior testimony,
 9                                              this would greatly diminish the utility
                                                of summary judgment as a procedure
10                                              for screening out sham issues of
11                                              fact." Id. at 266 (quoting Foster v.
                                                Arcata Assocs., Inc., 772 F.2d 1453,
12                                              1462 (9th Cir.1985)).
13
                                                The sham affidavit rule arises when the
14                                              declarant's declaration contradicts
15                                              earlier deposition testimony. Nelson v.
                                                City of Davis, 571 F.3d 924, 927 (9th
16
                                                Cir. 2009); see Kennedy v. Allied Mut.
17                                              Ins. Co., 952 F.2d 262, 266-67 (9th Cir.
                                                1991) (holding a court may discount a
18
                                                "sham" declaration that "flatly
19                                              contradicts" prior deposition testimony,
                                                and has been provided for the sole
20
                                                purpose of creating a genuine issue of
21                                              material fact.) The underlying rationale
                                                of the sham affidavit rule is that a party
22
                                                may not "manufacture a bogus dispute
23                                              with himself to defeat summary
                                                judgment." Davis, 571 F.3d at 928.
24
25                                              The following deposition testimony
                                                contradicts the evidence presented:
26
27                                              Q. …So during this process of Rubicon
                                                Resources sends an order to a company
28
                                                packer, a partner packer, with a CC to
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -24-
 Case 2:16-cv-04271-JFW-AS Document 163 Filed 11/27/17 Page 27 of 29 Page ID #:6440



 1   PARA.          ITEM OF EVIDENCE                          OBJECTIONS
                                                Wales, where does Wales send its bill
 2                                              for its portion of the commission from
 3                                              the sales?
                                                A. After shipment, we send a debit note
 4                                              to the packers.
 5                                              Wales 30(b)(6) Dep. 73:9-15.
 6                                              Q. Do you know what is meant by the
 7                                              last two columns here, the WTH tax 3
                                                percent?
 8                                              A. Commission tax.
 9                                              Q. Commission tax?
                                                A. To deduct 3 percent.
10                                                     THE REPORTER: I'm sorry. To
11                                              what?
                                                       THE WITNESS: To deduct the
12                                              commission tax, 3 percent.
13                                              BY MS. KROEGER:
                                                Q. So does that mean that Phatthana
14                                              Seafood deducted 3 percent before they
15                                              paid the commission to Wales?
                                                A. Yes.
16                                              Wales 30(b)(6) Dep. 121:1-15.
17
                                                Q. Sure. I'm just wondering in the
18
                                                process -- so the Rubicon Resources
19                                              purchase order comes to Phatthana
                                                Seafood with a CC to Wales, and then
20
                                                Wales sends this to Phatthana Seafood
21                                              saying --
                                                A. WR.
22
                                                Q. -- "Start tracking it, here's my WR
23                                              number." Presumably Phatthana
                                                Seafood starts processing the product.
24
                                                Wales 30(b)(6) Dep. 132:4-12.
25
                                                Q. All right. Let me -- let me make sure
26
                                                I understand that process.
27                                                     When the -- so on the WR that's
                                                sent to Phatthana, I see here that there is
28
                                                a shipment date already filled in of
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -25-
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 1   PARA.          ITEM OF EVIDENCE                         OBJECTIONS
                                                December 26, 2011. What does that
 2                                              indicate to Phatthana, if anything?
 3                                              A. They need to ship within that period.
                                                Q. Okay. And then how do they let you
 4                                              know, Wales know, that the shipment is
 5                                              moving?
                                                A. After they ship, they have to inform
 6                                              the shipment advise.
 7                                              Q. How do they do that?
                                                A. By mail.
 8                                              Wales 30(b)(6) Dep. 133:13-134:6.
 9
                                                Q. So let me ask you just some general
10                                              questions. There's an e-mail that is
11                                              labeled qc@wales-universe.com. Who
                                                receives e-mails at that e-mail address?
12                                              A. This supposed to be the e-mail from
13                                              PTN for the Phatthana, okay, Group to
                                                Rubicon, okay, and CC -- on the CC,
14                                              involving Wales on the QC. Okay. That
15                                              QC-Wales. Okay. Khun Pichit is Wales.
                                                Wales 30(b)(6) Dep. 142:11-19.
16
17                                              Q. …Does it apply to -- is it a tax
                                                transaction indicating one of those or
18
                                                something else?
19                                              A. 3 percent. That is mean that
                                                Phatthana have already deduct 3
20
                                                percent.
21                                              Wales 30(b)(6) Dep. 150:12-16.
22
                                                2. FRE 701 Improper Opinion
23                                              Testimony as to a Legal Conclusion
24
                                                Whether Wales ever acted as
25                                              Phatthana's agent is a legal conclusion
                                                which is left to the Court to decide.
26
27                                              The evidence is further objected to as it
                                                draws impermissibly a legal conclusion.
28
                                                See Hangarter v. Provident Life &
     PLTFS’ EVID OBJS DEFTS’ SEP STATE   -26-
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 1   PARA.          ITEM OF EVIDENCE                          OBJECTIONS
                                                 Accident Ins. Co., 373 F.3d 998, 1016-
 2                                               17 (9th Cir. 2004) (“No witness –
 3                                               expert or non-expert – should opine on
                                                 the ultimate legal conclusion, which is
 4                                               province of the court.”).
 5
 6
     Dated: November 27, 2017            Respectfully Submitted,
 7
 8                                       COHEN MILSTEIN SELLERS & TOLL PLLC

 9                                       ANTHONY DICAPRIO, ATTORNEY AT LAW

10                                       SCHONBRUN SEPLOW HARRIS &
                                         HOFFMAN LLP
11                                       HADSELL STORMER & RENICK LLP
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13
                                         By:   /s/ - Mary Tanagho Ross
14                                             Dan Stormer
                                               Mary Tanagho Ross
15                                       Attorneys for Plaintiffs
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